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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )            Case No. 8:03CR263
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                   ORDER
                                              )
TAMMY L. LUSTER,                              )
                                              )
                      Defendant.              )


       IT IS ORDERED that a status conference for the defendant, Tammy L. Luster, is

scheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S.

Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on January 5, 2006, at 1:30 p.m.

Since this is a criminal case, the defendant shall be present, unless excused by the court.

If an interpreter is required, one must be requested by the plaintiff in writing five (5) days in

advance of the scheduled hearing.

       DATED this 15th day of December, 2005.

                                              BY THE COURT:




                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
